Case 3:20-cv-04423-JD Document 248-11 Filed 02/13/23 Page 1 of 2




         EXHIBIT 51
                     Case 3:20-cv-04423-JD Document 248-11 Filed 02/13/23 Page 2 of 2
YouTube Creator Academy                             Catalog




                          Respond to copyright                Responding to copyright takedowns                                                                                                  =
                          takedowns
                                                              Heads up! if your video is removed through a copyright takedown notice, you'll receive                        . if you receive three
                                                              copyright strikes, your account is subject to termination.
                     Copyright takedowns
                     overview                                  If your video was removed in error through a copyright takedown, you have the options to:
                                                               seen
                             a
                      Copyright strike basics                           Request a“             rom the claimant

                                                                        if you believe you received a copyright takedown in error, you can attempt to seek a retraction from the party who filed it.
                      Copyright takedown overview
                                                                        Submit a co
                      LESSON 4
                     Responding to copyright                            You also have the option of submitting a counter-notification, which is a legal request for YouTube to reinstate a video
                     takedowns                                          that has been removed for alleged copyright infringement.


                                                                        Wait for strike to expire on its awn in 3 months (video not reinstated upon expiration), as long as you have completed
                     Counter notifications


                      ESION 4
                      Knowledge check
                                                              What can you do during a scheduled copyright takedown request?
                                                              in some cases, a copyright owner can issue a delayed copyright takedown request. When this happens, you'll have 7 days before the
                                                              takedown request goes into effect and the targeted content is removed.




                                                               During this 7-day period, there area few different things youcan do:
                                                               seed



                                                                a      Bo nothing. You can wait for the takedown request to take effect in 7 days. At that point, the video will be removed anda
                                                                                       2 Will be applied to your account.

                                                                       Delete your video. If you remove your video before 7 days are up, your video will be off the site, but your channel won't get
                                                               a




                                                                       @ copyright strike.

                                                                       Hf the delayed takedown request was a result of your appeal of a Content ID claim, you can cancel your appeal within 7
                                                              @




                                                                       days, which prevents the takedown and keeps the claim active on your video.


                                                                       After 7 days, when YouTube removes the video, your channel will receive a copyright strike. Deleting the video at that
                                                              ©




                                                                       point will not resolve the strike. Strikes expire after 90 days, but your video won't be reinstated after the strike expires.




                                                                                                                                                                                                       GOOG-SCHNDR-00000161
